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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


B. P. J., et al.,
                               Plaintiffs,

v.                                                   CIVIL ACTION NO. 2:21-cv-00316

WEST VIRGINIA STATE BOARD OF EDUCATION, et al.,

                               Defendants.



                                             ORDER

         For reasons appearing to the court the motion hearing, previously scheduled in this matter

for June 8, 2022, at 10:00 a.m., is CANCELED.

         The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER: May 20, 2022
